          Case 1:19-cv-05285-LLS Document 5 Filed 08/02/19 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
ANDREW ENGEL,                          :
                                       :
                                                      CASE NO.: 1:19-cv-05285
                Plaintiff,             :
                                       :
      -against-                        :
                                       :
THE AQUANTIA CORPORATION, LIP-BU :
TAN, FARAJ AALAEI, DMITRY              :
AKHANOV, DR. BAMI BASTANI, KEN         :
PELOWSKI, GEOFFREY RIBAR, SAM          :
SRINIVASAN, and ANDERS SWAHN,          :
                                       :
                Defendants.            :
                                       :
-------------------------------------- X

                                   NOTICE OF DISMISSAL

       Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses the above-titled action as moot. This notice of dismissal

is being filed with the Court before service by Defendants of either an answer or a motion for

summary judgment.

 Dated: August 2, 2019                             Respectfully Submitted,

                                                   MONTEVERDE & ASSOCIATES PC

                                                   /s/ Juan E. Monteverde____________
                                                   Juan E. Monteverde
                                                   The Empire State Building
                                                   350 Fifth Avenue, Suite 4405
                                                   New York, New York 10118
                                                   Tel: 212-971-1341
                                                   Fax: 212-202-7880

                                                   Attorney for Plaintiff
